Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 1 of 31 Page ID #:305


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   9   PATAGONIA PROVISIONS, INC.
  10
  11                        UNITED STATES DISTRICT COURT
  12                FOR THE CENTRAL DISTRICT OF CALIFORNIA
  13                                    WESTERN DIVISION
  14
  15   PATAGONIA, INC. and                       Case No. 2:19-cv-02702-VAP-JEM
       PATAGONIA PROVISIONS, INC.,
  16
                          Plaintiffs,            OPPOSITION TO MOTION TO
  17                                             DISMISS
             v.
  18
       ANHEUSER-BUSCH, LLC                       Date:    August 19, 2019
  19   dba PATAGONIA BREWING CO.,                Time:    2:00 p.m.
                                                 Court:   Courtroom 8A, 8th Floor
  20                      Defendant.             Judge:   Honorable Virginia A. Phillips
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       OPPOSITION TO MOTION TO DISMISS
       Case No. 2:19-cv-02702-VAP-JEM
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 2 of 31 Page ID #:306


   1                                           TABLE OF CONTENTS
   2                                                                                                                   Page
   3
       I.      INTRODUCTION ........................................................................................... 1
   4
       II.     PLEADING STANDARDS ............................................................................ 2
   5
               A.       General Pleading Standard .................................................................... 2
   6
               B.       Special Pleading Standard: Fraud ........................................................ 3
   7
       III.    CLAIM FIVE ADEQUATELY ALLEGES A CLAIM FOR
   8           INVALIDATION OF THE TRADEMARK BASED ON
               AN ILLEGITIMATE ASSIGNMENT. .......................................................... 4
   9
       IV.     CLAIM SEVEN ALLEGES FRAUD ON THE PTO WITH
  10           PARTICULARITY. ........................................................................................ 7
  11   V.      CLAIM THREE FOR DILUTION IS SUFFICIENT. .................................. 12
  12           A.       The FAC Contains Sufficient Factual Allegations to
                        Show the “Fame” Element of a Dilution Claim. ................................ 13
  13
               B.       AB’s Authorities Regarding Dilution Are
  14                    Overblown, Distinguishable, or Irrelevantr to the
                        Pleading Stage. .................................................................................... 15
  15
               C.       The PATAGONIA Mark Is Sufficiently Distinctive
  16                    to Support a Claim of Fame. ............................................................... 17
  17           D.       AB’s Motion for a More Definite Statement of Claim
                        Three Is Baseless and Should Be Denied. .......................................... 19
  18
       VI.     CLAIM SIX ADEQUATELY PLEADS FALSE
  19           SUGGESTION OF CONNECTION............................................................. 19
  20   VII. THE FIFTH CLAIM PROPERLY PLEADS
            ABANDONMENT. ....................................................................................... 24
  21
       VIII. CONCLUSION ............................................................................................. 25
  22
  23
  24
  25
  26
  27
  28

       OPPOSITION TO MOTION TO DISMISS
       Case No. 2:19-cv-02702-VAP-JEM                                                                               -i-
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 3 of 31 Page ID #:307


   1                                           TABLE OF AUTHORITIES
   2                                                                                                                    Page(s)
   3
   4   Cases
   5   Adidas Am., Inc. v. TRB Acquisitions LLC,
          No. 3:15-cv-2113-SI, 2018 WL 4600291 (D. Or. Sept. 25, 2018) ........................ 11
   6
       Aegis Software, Inc. v. 22nd Dist. Agric. Ass’n,
   7     255 F. Supp. 3d 1005 (S.D. Cal. 2017) .................................................................. 16
   8   ANT v. McPartlin,
         No. CV 11-6975 PSG (Ex), 2012 WL 13012472 (C.D. Cal. May 30,
   9     2012) ................................................................................................................. 16, 17
  10   Ashcroft v. Iqbal,
          556 U.S. 662 (2009) ............................................................................................. 2, 3
  11
       Ass’n Pour La Def. et La Promotion De Loeuvre De Marc Chagall Dite
  12      Comite Marc Chagall v. Bondarchuk,
          No. 92042323, 2007 WL 749714 (T.T.A.B. Mar. 8, 2007) ................................... 21
  13
       Avery Dennison Corp. v. Sumpton,
  14      189 F. 3d 868 (9th Cir. 1999) ........................................................................... 18, 19
  15   Bd. Of Tr. of the Univ. of Alabama v. BAMA-Werke Curt Baumann,
          No. 13,291, 1986 WL 83709 (T.T.A.B. Aug. 6, 1986) .......................................... 20
  16
       Bell v. Harley-Davidson Motor Co.,
  17      No. 05cv2151-L(BLM), 2007 WL 935588 (S.D. Cal. Mar. 6, 2007) .................... 25
  18   Blue Sphere, Inc. v. Swift,
          2014 WL 12575768 (C.D. Cal. Sept. 17, 2014) ..................................................... 13
  19
       In re Bose,
  20       580 F.3d 1240 (Fed. Cir. 2009) .............................................................................. 11
  21   Branding v. By Lee Tillett, Inc.,
          940 F. Supp. 2d 1178 (C.D. Cal. 2013) ............................................................ 18, 23
  22
       Buffett v. Chi-Chi’s, Inc.,
  23      1985 WL 73060 (T.T.A.B. June 13, 1985) ............................................................ 20
  24   Caymus Vineyards v. Caymus Med., Inc.,
         No. 91204667, 2013 WL 6665451 (T.T.A.B. 2013) ................................................ 8
  25
       Cerveceria Centroamericana, S.A. v. Cerveceria India, Inc.,
  26     892 F.2d 1021 (Fed. Cir. 1989) .............................................................................. 24
  27   Cree, Inc. v. Fastbuy, Inc.,
          No. CV 18-01802-CJC(ASx), 2018 WL 4850404 (C.D. Cal. July 16,
  28      2018) ........................................................................................................... 13, 14, 15

       OPPOSITION TO MOTION TO DISMISS
       Case No. 2:19-cv-02702-VAP-JEM                                                                                   - ii -
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 4 of 31 Page ID #:308


   1   CYBERsitter, LLC v. Google Inc.,
         905 F. Supp. 2d 1080 (C.D. Cal. 2012) .................................................................... 3
   2
       Dahon N. Am., Inc. v. Hon,
   3     2012 WL 1413681 (C.D. Cal. Apr. 24, 2012) .................................................. 16, 17
   4   Daimlerchrysler Corp. v. Am. Motors Corp.,
         No. 92045099, 2010 WL 302022 (T.T.A.B. Mar. 25, 2010) ................................. 11
   5
       Dallas Cowboys Football Club, Ltd. v. Am.
   6     ’s Team Props., Inc., 616 F. Supp. 2d 622 (N.D. Tex. 2009) ................................ 17
   7   Delta Air Lines, Inc. v. Influence Direct, LLC,
         No. 3-14-0926, 2016 WL 310068 (M.D. Tenn. Jan. 15, 2016) ............................. 17
   8
       Emerald Cities Collaborative, Inc. v. Roese,
   9     666 F. Appx. 908 (Fed Cir. 2016) ........................................................................ 6, 7
  10   Fed. Treasury Enter. Sojuzplodoimport v. Spirits Int’l N.V.,
         623 F.3d 61 (2d Cir. 2010) ....................................................................................... 7
  11
       Fruit of the Loom, Inc. v. Girouard,
  12      994 F.2d 1359 (9th Cir. 1993) ................................................................................ 15
  13   Gaffrig Performance Indus., Inc. v. Livorsi Marine, Inc.,
         No. 99 C 7778, 2001 WL 709483 (N.D. Ill. June 25, 2001) .................................... 8
  14
       In re Gilead Scis. Secs. Litig.,
  15       536 F. 3d 1049 (9th Cir. 2008) ............................................................................... 13
  16   Global Apogee v. Sugarfina, Inc.,
          No. CV 18-5162-RSWL-E, 2018 WL 4945305 (C.D. Cal., Oct. 10,
  17      2018) ......................................................................................................................... 3
  18   Greene v. Ab Coaster Holdings, Inc.,
         2012 WL 4442749 (S.D. Ohio Sept. 25, 2012) ........................................................ 5
  19
       In-N-Out Burgers v. Smashburger IP Holder LLC,
  20      No. 8:17-cv-1474-JLS-DFM, 2017 WL 10402610 (C.D. Cal., Dec.
          21, 2017) ................................................................................................................. 17
  21
       Kim v. Ferry,
  22     No. CV-08-05433-GAF (MANx), 2009 WL 10671425 (C.D. Cal.
         Feb. 18, 2009) ........................................................................................................... 2
  23
       La Societe Anonyme des Parfums le Galion v. Jean Patou, Inc.,
  24      495 F.2d 1265 (2d Cir. 1974) ................................................................................. 24
  25   Lee v. City of Los Angeles,
          250 F.3d 668 (9th Cir. 2001) .................................................................................... 3
  26
       Lions Gate Entm’t Inc. v. TD Ameritrade Servs. Co., Inc.,
  27      170 F. Supp. 3d 1249 (C.D. Cal. 2016) ................................................................ 2, 3
  28

       OPPOSITION TO MOTION TO DISMISS
       Case No. 2:19-cv-02702-VAP-JEM                                                                                      - iii -
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 5 of 31 Page ID #:309


   1   Mattel Inc. v. Scott,
         2006 WL 3472709 (T.T.A.B. Nov. 21, 2006) ........................................................ 17
   2
       Meckatzer Lowenbrau Benedikt Weib KG v. White Gold, LLC,
   3     No. 92051014, 2010 WL 1946273 (T.T.A.B. May 13, 2013) ............................... 12
   4   MGA Entm’t, Inc. v. Dynacraft BSC, Inc.,
         No. 2:17-cv-08222-ODW-KS, 2018 WL 2448123 (C.D. Cal. May 30,
   5     2018) ................................................................................................................. 15, 16
   6   Moore v. Kayport Package Exp., Inc.,
         885 F.2d 531 (9th Cir. 1989) .................................................................................... 8
   7
       Mophie, Inc. v. ABM Wireless, Inc.,
   8     No. SACV 14-1422-JLS, 2015 WL 12791374 (C.D. Cal. May 19,
         2015) ................................................................................................................. 24, 25
   9
       Nat’l Pork Bd. & Nat’l Pork Producers Council v. Supreme Lobster &
  10     Seafood Co.,
         No. 91166701, 2010 WL 2513872 (T.T.A.B. June 11, 2010) ............................... 17
  11
       Nat’l Sportswear v. Nat’l Sportswear, Inc.,
  12     No. 92064690, 2017 WL 1476300 (T.T.A.B. Mar. 23, 2017) ............................... 20
  13   Neurovision Med. Prods., Inc. v. Nuvasive, Inc.,
         No. 09-CV-6988 ..................................................................................................... 11
  14
       New York Yankees P’ship v. Evil Enters., Inc.,
  15     2013 WL 1305332 (T.T.A.B. Feb. 8, 2013)........................................................... 22
  16   Oculu, LLC v. Oculus VR, Inc.,
         No. SACV 14-0196 DOC(JPRx), 2015 WL 3619204, at *7 (C.D. Cal.
  17     June 8, 2015)............................................................................................................. 5
  18   Odom v. Microsoft Corp.,
         486 F.3d 541 (9th Cir. 2007) .................................................................................... 4
  19
       OTR Wheel Eng’g, Inc. v. W. Worldwide Servs., Inc.,
  20     897 F.3d 1008 (9th Cir. 2018) .................................................................................. 7
  21   Petróleos Mexicanos v. Intermix S.A.,
          No. 92052292, 2010 WL 5574284 (T.T.A.B. Dec. 28, 2010) ......................... 21, 22
  22
       Planet Coffee Roasters, Inc. v. Dam,
  23      No. SACV 09-00571-MLG, 2009 WL 2486457 (C.D. Cal. Aug. 12,
          2009) ................................................................................................................. 16, 17
  24
       Sebastian Brown Prods. LLC v. Muzooka Inc.,
  25      No. 15-CV-01720-LHK, 2016 WL 949004 (N.D. Cal. Mar. 14, 2016) .................. 5
  26   SmileDirectClub, LLC v. Berkely,
         No. SACV 18-1236 ................................................................................................ 10
  27
       Strome v. DBMK Enters., Inc.,
  28      No. 14-cv-02398-SI, 2014 WL 6485533 (N.D. Cal. Nov. 19, 2014) ............ 3, 4, 10

       OPPOSITION TO MOTION TO DISMISS
       Case No. 2:19-cv-02702-VAP-JEM                                                                                   - iv -
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 6 of 31 Page ID #:310


   1   T-4 Corp. v. McDonald’s Corp.,
          No. CV 17-08-M-DLC, 2017 WL 3037422 (D. Mont. July 17, 2017).................. 17
   2
       The Clorox Co. v. Chemical Bank,
   3      No. 23,559, 1996 WL 579826 (T.T.A.B. July 2, 1996) ........................................... 5
   4   Theta Chi Fraternity, Inc. v. Leland Stanford Junior Univ.,
          212 F. Supp. 3d 816 (N.D. Cal. 2016).................................................................... 16
   5
       Top Producer Sys. Inc. v. Software Scis. Ltd.,
   6     43 U.S.P.Q.2d 1853, 1997 WL 723049 (D. Or. 1997) ............................................. 8
   7   Twiggy v. Tjx Cos., Inc.,
         87 U.S.P.Q.2d 1411 (T.T.A.B. 2008) ............................................................... 22, 23
   8
       Univ. of Notre Dame du Lac v. J.C. Food Imps. Co.,
   9     703 F.2d 1372 (Fed. Cir. 1983) .............................................................................. 23
  10   Wal-Mart Stores, Inc. v. Samara Bros., Inc.,
         529 U.S. 205 (2000) ............................................................................................... 16
  11
       Re White,
  12      No. 78146926, 2006 WL2049628 (T.T.A.B. Jan. 4, 2006) ................................... 23
  13   Statutes
  14   15 U.S.C. § 1052(a) ..................................................................................................... 20
  15   15 U.S.C. § 1064............................................................................................................ 4
  16   15 U.S.C. § 1064(3) ..................................................................................................... 20
  17   15 U.S.C. § 1065............................................................................................................ 4
  18   15 U.S.C. § 1125(c)(2)(A)(i)-(iv) ................................................................................ 13
  19   15 U.S.C. § 1127.......................................................................................................... 24
  20   Lanham Act. Section 10(a) 15 U.S.C. § 1060(a)(1) ............................................. passim
  21   Other Authorities
  22   6 McCarthy on Trademarks and Unfair Competition § 31:67 (5th ed.) ...................... 10
  23   Fed. R. Civ. P. Rule 8(a)................................................................................................ 2
  24   Fed. R. Civ. P. Rule 9(b) ....................................................................................... 3, 4, 8
  25   Fed. R. Civ. P. Rule 12(b)(6) ..................................................................................... 2, 3
  26   Fed. R. Civ. P. Rule 12(e)............................................................................................ 19
  27
  28

       OPPOSITION TO MOTION TO DISMISS
       Case No. 2:19-cv-02702-VAP-JEM                                                                                 -v-
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 7 of 31 Page ID #:311


   1   I.    INTRODUCTION
   2         Patagonia’s1 First Amended Complaint (“FAC”) explains in great detail
   3   how Anheuser Busch, LLC (“AB”) illegally acquired an intent-to-use trademark
   4   application (“ITU”) from its competitor Warsteiner Imports Agency (“Warsteiner”)
   5   for the trademark “PATAGONIA” for beer. AB took the extraordinary step of
   6   having its own lawyers assume control over the ITU, making false statements to
   7   the PTO that Warsteiner, and not AB, was the owner of the ITU, and that Warsteiner
   8   had “used” the mark even though Warsteiner never used it before illegally assigning
   9   it to AB. Through its lawyers, AB made these false statements because it knew the
  10   PTO would not issue the registration if, before having used the mark, Warsteiner
  11   assigned the ITU to AB. Once AB obtained the registration resulting from this
  12   deceit, it shelved the trademark for at least six years. Only after enough time had
  13   passed so that AB could proclaim the registration was incontestable – based on
  14   more misrepresentations to the PTO about the mark’s use – did AB finally launch
  15   its PATAGONIA brand beer in the United States.
  16         All of Patagonia’s claims flow naturally from the consequences of AB’s
  17   unlawful acquisition of the ITU, and AB’s fraudulent statements to obtain the result-
  18   ing registration. Claims One through Four are trademark infringement and dilution
  19   claims that seek to remedy the consumer confusion and brand erosion caused by
  20   AB’s use of a PATAGONIA mark that is identical to Patagonia’s famous brand
  21   and corporate identity. Claims Five through Eight seek to cancel AB’s trademark
  22   registration or rectify the register to ensure that AB is not able to take advantage
  23   of its illegally obtained registration or asserted incontestability. Without the illegal
  24   registration, AB would not hold any rights in a PATAGONIA trademark, leaving it
  25   to defend the substantial confusion and misleading associations with Patagonia that
  26   AB’s new brand has caused.
  27
       1
        Patagonia, Inc. and Patagonia Provisions, Inc. are collectively referred to as
  28   “Patagonia.”

       OPPOSITION TO MOTION TO DISMISS
       Case No. 2:19-cv-02702-VAP-JEM                                                  -1-
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 8 of 31 Page ID #:312


   1         AB’s motion to dismiss (“Motion”) is a disguised motion for summary
   2   judgment that fails the basic test of all motions to dismiss. AB can easily discern
   3   what claims Patagonia has pleaded, and cannot sustain any argument that the claims
   4   are implausible under the alleged facts. The facts do not reveal any inherent legal
   5   barriers to the claims. Despite the convention of parroting Twombly and Iqbal in
   6   rote response to every action a defendant would rather not face (which contravenes
   7   the Court’s standing order regarding Rule 12(b)(6) motions), the federal pleading
   8   standard still requires only fair notice of plausible claims. The only “implausibility”
   9   that has surfaced in the Motion is AB’s contention that there is an innocent
  10   explanation for AB’s manipulation of the PTO in order to hide its unlawful
  11   acquisition of the ITU.
  12         The Motion never comes to grips with the FAC’s pivotal allegations: AB
  13   violated the Lanham Act’s prohibition on acquisitions of ITUs and then made a
  14   series of misrepresentations to the PTO in order to hide this defect. These allega-
  15   tions are highly plausible based on the documents that AB itself recorded in the
  16   PTO. The inferences raised by these facts cannot be assumed away on a motion
  17   to dismiss and require a full hearing with all of the relevant evidence before
  18   Patagonia’s claims can be decided.
  19   II.   PLEADING STANDARDS
  20         A.     General Pleading Standard
  21         A complaint need only make a “short and plain” statement of the claim show-
  22   ing that the plaintiff is entitled to relief. Fed. R. Civ. P. 8(a)(2). A Rule 12(b)(6)
  23   motion to dismiss tests the legal sufficiency of the complaint in light of Rule 8(a).
  24   Kim v. Ferry, CV 08-05433 GAF (MANx), 2009 WL 10671425, at *3 (C.D. Cal.,
  25   Feb. 18, 2009), see also, Lions Gate Entm’t Inc. v. TD Ameritrade Servs. Co., Inc.,
  26   170 F. Supp. 3d 1249, 1256 (C.D. Cal. 2016). A motion to dismiss does not turn on
  27   whether the plaintiff ultimately will prevail, but only whether the plaintiff has
  28   alleged sufficient factual grounds to provide notice of the claim and a plausible basis

       OPPOSITION TO MOTION TO DISMISS
       Case No. 2:19-cv-02702-VAP-JEM                                                   -2-
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 9 of 31 Page ID #:313


   1   for relief.2 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Defendant’s arguments
   2   throughout its Motion about the merits of the claims, accordingly, are improper at
   3   the pleading stage.
   4         In deciding a 12(b)(6) motion, the court must (1) construe the complaint
   5   in the light most favorable to the plaintiff, and (2) accept all well-pleaded factual
   6   allegations as true, as well as all reasonable inferences to be drawn from them.
   7   Lions Gate, 170 F. Supp. 3d at 1256; see also, Lee v. City of Los Angeles, 250 F.3d
   8   668, 679 (9th Cir. 2001). A determination of whether the complaint meets the
   9   plausibility standard is a context-specific task that requires the court to draw on
  10   its judicial experience and common sense. Id. at 679.
  11         If a district court nevertheless believes the claims are insufficiently pleaded,
  12   the Ninth Circuit has held that the court should grant leave to amend. CYBERsitter,
  13   LLC v. Google Inc., 905 F. Supp. 2d 1080, 1086 (C.D. Cal. 2012) (citing Lopez v.
  14   Smith, 203 F.3d 1122, 1130 (9th Cir. 2000)). A complaint “should not be dismissed
  15   under Rule 12(b)(6) ‘unless it appears beyond doubt that the plaintiff can prove no
  16   set of facts in support of his claim which would entitle him to relief.’” Global
  17   Apogee v. Sugarfina, Inc., No. CV 18-5162-RSWL-E, 2018 WL 4945305, at *1
  18   (C.D. Cal., Oct. 10, 2018).
  19         B.     Special Pleading Standard: Fraud
  20         Rule 9(b) requires that, “[i]n alleging fraud or mistake, a party must state
  21   with particularity the circumstances constituting fraud or mistake.” This requires
  22   identifying the “who, what, when, where, and how of the misconduct charged.”
  23   Strome v. DBMK Enters., Inc., No. 14-cv-02398-SI, 2014 WL 6485533, at *4 (N.D.
  24   Cal. Nov. 19, 2014). Importantly, given the arguments AB offers on the fraud
  25   claim, “[m]alice, intent, knowledge, and other conditions of a person’s mind may be
  26   alleged generally.” Fed. R. Civ. P. 9(b). Fraud allegations must be specific enough
  27
       2
        AB has framed more than 200 written discovery requests about these claims,
  28   indicating that Patagonia’s pleading is not so mysterious as AB’s motion suggests.

       OPPOSITION TO MOTION TO DISMISS
       Case No. 2:19-cv-02702-VAP-JEM                                                  -3-
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 10 of 31 Page ID #:314


   1    “to give defendants notice of the particular misconduct which is alleged to constitute
   2    the fraud charged so that they can defend against the charge and not just deny
   3    that they have done anything wrong.” Strome, 2014 WL 6485533, at *4 (internal
   4    citations omitted); see Odom v. Microsoft Corp., 486 F.3d 541, 555 (9th Cir. 2007)
   5    (holding that plaintiffs met Rule 9(b) when the court was “given no reason to
   6    believe that defendants will be hampered in their defense”).3
   7    III.   CLAIM FIVE ADEQUATELY ALLEGES A CLAIM FOR
               INVALIDATION OF THE TRADEMARK BASED ON AN
   8           ILLEGITIMATE ASSIGNMENT.
   9           AB argues that the FAC does not state sufficient facts to cancel the
  10    PATAGONIA trademark based on its invalid assignment. Motion at 14-17. The
  11    FAC lays out clearly that Warsteiner assigned the ITU to AB before making or
  12    showing use, a violation of the anti-trafficking rule in Section 10(a) of the Lanham
  13    Act. 15 U.S.C. § 1060(a)(1) (“Section 10(a)”).
  14           Congress added the anti-trafficking rule to prevent the very type of abuse of
  15    the intent-to-use application mechanism engaged in by AB. The rule states that “no
  16    application to register a mark under section 1051(b) of this title shall be assignable
  17    prior to the … filing of the verified statement of use under section 1051(d) of this
  18    title.” Id. Section 10(a)’s lone exception, permitting assignment together with an
  19    “existing business,” requires that (i) the mark be in use, and (ii) the transferee
  20
  21    3
         AB’s Motion spends considerable time claiming that its PATAGONIA trade-
        mark is incontestable. Despite the emphasis it receives, AB never explains why
  22    incontestability matters to Patagonia’s specific claims and, in fact, incontestability
        is not offered as grounds to defeat any of the claims AB has moved to dismiss. The
  23    only claims that are affected by incontestability are the First through Fourth, but AB
        does not move to dismiss the First or Second, and dismissal of the Third and Fourth
  24    claims is sought on other grounds. See Motion 17-24. AB ignores Patagonia’s
        numerous claims that will result in cancellation of AB’s purported registration
  25    regardless of incontestability. See 15 U.S.C. §§ 1064, 1065 (a mark is not incon-
        testable if it “has been abandoned [Fifth claim], or its registration was obtained
  26    fraudulently [Seventh claim] or contrary to the provisions of … subsection (a), (b),
        or (c) of section 1052 [Sixth claim]”). An assignee likewise may not use incon-
  27    testability to shield an unlawful assignment [Fifth Claim] or a registration that has
        not been in bona fide use continuously for five years [Eighth Claim]. Id. AB’s
  28    repeated references to “incontestability” are misleading.

        OPPOSITION TO MOTION TO DISMISS
        Case No. 2:19-cv-02702-VAP-JEM                                                  -4-
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 11 of 31 Page ID #:315


   1    acquire the ongoing business together with the mark. Greene v. Ab Coaster
   2    Holdings, Inc., No. 2:10-CV-38, 2012 WL 4442749, at *10 (S.D. Ohio Sept. 25,
   3    2012) (“[Assignor], however, did not have ‘an ongoing and existing business’
   4    related to the Ab Coaster mark in December 2006 at the time of the assignment.”);
   5    Sebastian Brown Prods. LLC v. Muzooka Inc., No. 15-CV-01720-LHK, 2016 WL
   6    949004, at *8-9 (N.D. Cal. Mar. 14, 2016) (same). AB does not argue that either
   7    condition for this exception is present.
   8           Circumvention of Section 10(a) invalidates the registration and the
   9    transfer from Warsteiner to AB, and eliminates AB’s ability to claim the rights of
  10    a “registrant.” The Clorox Co. v. Chemical Bank, No. 23,559, 1996 WL 579826, at
  11    *7 (T.T.A.B. July 2, 1996) (“any such prohibited assignment is not only invalid, …
  12    but the prohibited assignment also voids the application or any resulting
  13    registration”); Oculu, LLC v. Oculus VR, Inc., No. SACV 14-0196 DOC(JPRx),
  14    2015 WL 3619204, at *7 (C.D. Cal. June 8, 2015) (“Violating this 'anti-trafficking
  15    rule' voids the assignment as well as the underlying application and resulting
  16    registration.”).
  17           There are ample allegations in the FAC supporting the claim that AB’s acqui-
  18    sition of the ITU violates Section 10(a). The mark was assigned by Warsteiner to
  19    AB at the time that AB’s lawyers took control of the application (May 14, 2012),
  20    two months before the July 17, 2012 statement of use was filed (the “Statement of
  21    Use”). FAC ¶¶ 27-29; see also ¶¶ 90-91. Only AB, not Warsteiner, made prepara-
  22    tions to use the mark (e.g. filing for a certificate of label approval), again before the
  23    Statement of Use was filed. Id. at ¶¶ 24, 25. The transactional documents them-
  24    selves, excerpted in the FAC, confirm all of this, explicitly stating that the ITU
  25    was assigned. Id. at ¶¶ 27-28.
  26           AB does not deny (in fact, it concedes) the inference that these transactional
  27    documents were created before the PTO issued the registration, but suggests they
  28    were dated and filed later. Motion at 17. AB insinuates that there was a license by

        OPPOSITION TO MOTION TO DISMISS
        Case No. 2:19-cv-02702-VAP-JEM                                                   -5-
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 12 of 31 Page ID #:316


   1    Warsteiner (id. at 15) but the FAC is inconsistent with any bona fide license. Even
   2    if there were a license, a phony license cannot override the plain meaning of Section
   3    10(a). See Emerald Cities Collaborative, Inc. v. Roese, 666 F. Appx. 908 (Fed Cir.
   4    2016) (holding that Section 10(a) violations cannot be avoided by a sham trans-
   5    action). If AB wants to justify the extraordinary circumstances surrounding the
   6    alleged assignment with evidence of a bona fide license (one that must have inex-
   7    plicably initiated five days before the application lapsed), a motion to dismiss is
   8    not the proper vehicle.
   9          AB argues that Patagonia “ignore[s] the date recorded on the assignment and
  10    the reasonable explanation that the assignment was drafted before registration but
  11    executed after registration.” Motion at 8, fn. 5. Patagonia does not ignore that the
  12    assignment was drafted before the registration; it is the stated basis of Patagonia’s
  13    claims. FAC ¶¶ 27-29. Warsteiner assigned the ITU to AB and AB irrevocably
  14    took control over the application, before the registration issued, as part of a scheme
  15    to avoid Section 10(a). Patagonia does not credit the execution date of the assign-
  16    ment document, nor does the FAC. If the assignment was not effective – as AB
  17    appears to insist that undisclosed evidence will show – until the recorded execution
  18    date, there is no explanation why AB’s attorneys drafted and submitted to the PTO
  19    an assignment of the “application.” There is no reason for AB to have (i) taken
  20    control of the application (a few months before it expired), (ii) filed for certificate
  21    of label approvals in AB’s name, (iii) sworn to Warsteiner’s use, or (iv) pretended to
  22    the PTO that beer – actually sold, if by anyone, by Cerveceria Y Malteria Quilmes
  23    S.A. (“Quilmes”) to Import Brands Alliance – was sold by Warsteiner five days
  24    before the application lapsed. FAC ¶¶ 19-25.
  25          AB’s efforts to deceive the PTO, even if its intimations are true that
  26    Warsteiner signed the assignment after the mark registered, are similar to those
  27    in Emerald Cities. There, the appeals court affirmed the TTAB’s rejection of an
  28    “argument that the Agreement was merely an ‘agreement to assign in the future.’”

        OPPOSITION TO MOTION TO DISMISS
        Case No. 2:19-cv-02702-VAP-JEM                                                   -6-
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 13 of 31 Page ID #:317


   1    666 Fed. Appx. at 911. As here, the assignment agreement in Emerald Cities was
   2    drafted before the trademark registered; did not purport to take effect until after the
   3    mark had registered; and the application was prosecuted by the assignee’s own
   4    counsel. Id. at 909-911. The court concluded that the assignment, “when read in its
   5    entirety, unambiguously shows that [applicant] … relinquished[] immediate control
   6    and ownership of the intent-to-use application in a ‘manner tantamount to an assign-
   7    ment.’” Id. at 913 (emphasis added). The FAC is more than adequate to put AB
   8    on notice that Patagonia is asserting (and has a plausible basis for asserting) that
   9    Warsteiner “relinquished[] immediate control” of the application to AB in violation
  10    of Section 10(a) and the resulting registration should therefore be cancelled.4
  11    IV.   CLAIM SEVEN ALLEGES FRAUD ON THE PTO WITH
              PARTICULARITY.
  12
  13          AB never seriously suggests it cannot discern the specifics of Patagonia’s
  14    fraud claim. Rather, AB appears to discount the specific allegations of fraud
  15    because AB’s experienced trademark lawyers managed to date the forms and file the
  16    required statements to the PTO on Warsteiner’s behalf in the correct order, ignoring
  17    that AB acquired the application before these statements (falsely) were made. This
  18    is not an argument about “particularity;” it is an argument about the merits.
  19          The elements of a fraud-on-the-PTO claim include: (1) a false representation
  20    regarding a material fact; (2) the registrant’s knowledge or belief that the representa-
  21    tion is false; (3) the registrant’s intent to induce reliance upon the misrepresentation;
  22    (4) actual, reasonable reliance on the misrepresentation; and (5) damages
  23    proximately caused by that reliance. OTR Wheel Eng’g, Inc. v. W. Worldwide
  24    Servs., Inc., 897 F.3d 1008, 1019 (9th Cir. 2018).
  25          Although fraud must be pled with particularity, “[a] pleading is sufficient
  26    4
         An unlawful assignment is grounds to cancel an incontestable registration. E.g.,
  27    Fed. Treasury Enter. Sojuzplodoimport v. Spirits Int’l N.V., 623 F.3d 61, 69 (2d Cir.
        2010) (holding “the question of the validity of the assignment is antecedent to the
  28    question of incontestability”).

        OPPOSITION TO MOTION TO DISMISS
        Case No. 2:19-cv-02702-VAP-JEM                                                  -7-
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 14 of 31 Page ID #:318


   1    under Rule 9(b) if it identifies the circumstances constituting fraud so that a [party]
   2    can prepare an adequate answer …. [w]hile statements of the time, place and nature
   3    of the alleged fraudulent activities are sufficient, mere conclusory allegations of
   4    fraud are insufficient.” Moore v. Kayport Package Exp., Inc., 885 F.2d 531, 540
   5    (9th Cir. 1989). Applying this principle to fraud on the PTO, the court in Top
   6    Producer Sys. Inc. v. Software Scis. Ltd., No. 97-0415-MA, 1997 WL 723049
   7    (D. Or. July 21, 1997) found that the allegations satisfied Rule 9(b) because
   8    counterclaimant had “identif[ied] a specific document, the date it was filed with the
   9    Patent and Trademark Office, and the alleged misrepresentations, namely that the
  10    plaintiff failed to disclose that the term ‘producer’ had become generic.” Id. at *3.
  11           Patagonia need not allege every specific fact and circumstance surrounding
  12    the fraud, but must “merely sketch the fraudulent scheme.” Gaffrig Performance
  13    Indus., Inc. v. Livorsi Marine, Inc., No. 99 C 7778, 2001 WL 709483, at *4-*5
  14    (N.D. Ill. June 25, 2001). Here, the FAC provides far more than a sketch of AB’s
  15    fraudulent design. On each element of the alleged fraud, Patagonia provides
  16    significant detail.
  17            False Representations: Prior to filing the Statement of Use, AB consum-
  18    mated the acquisition of the ITU in violation of Section 10(a) of the Lanham Act.
  19    FAC ¶¶ 27, 29. The assignment occurred no later than May 2012 when AB’s in-
  20    house attorneys took control of the application. Id. at ¶ 91. Starting with the
  21    Revocation of Attorney on May 14, 2012, AB not only misrepresented to the
  22    PTO that its attorneys were prosecuting the ITU on Warsteiner’s behalf, but also
  23    concealed the fact that AB already had closed the acquisition, an omission that
  24    itself constitutes a false statement. Id. at ¶¶ 23, 91; see Caymus Vineyards v.
  25    Caymus Med., Inc., No. 91204667, 2013 WL 6665451, at *4 (T.T.A.B. July 12,
  26    2013) (“Deliberately omitting relevant information, as has been alleged by
  27    applicant, may be treated as the equivalent of a false statement ….”).
  28           With AB’s lawyers in charge, four days before the ITU was set to fall

        OPPOSITION TO MOTION TO DISMISS
        Case No. 2:19-cv-02702-VAP-JEM                                                  -8-
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 15 of 31 Page ID #:319


   1    abandoned for failure to use the mark, AB’s attorney submitted a verified Statement
   2    of Use, again on Warsteiner’s supposed behalf. FAC ¶ 24. In addition to omitting
   3    that the ITU had been assigned to AB, the verified Statement of Use falsely claimed,
   4    expressly, that Warsteiner was “the owner of the mark sought to be registered.”
   5    FAC ¶¶ 27, 29; Req. for Judicial Notice (“RJN”) Ex. A at 12.
   6          The Statement of Use also falsely claimed that Warsteiner was using the
   7    trademark in commerce on beer, when in fact Warsteiner already had assigned
   8    away the ITU and any resulting trademark to AB. FAC ¶ 25. AB tries to evade this
   9    allegation by asserting that Warsteiner affirmed only that it or its “related company,
  10    licensee, or predecessors in interest” used the mark. Motion at 8. But, if the allega-
  11    tions in the FAC are accepted as true, as required, any Statement of Use dependent
  12    on Warsteiner’s “license” would simply have been another species of fraud.
  13    Warsteiner had no rights to “license” the mark after it had already assigned the ITU
  14    to AB. Id. at ¶ 27. These allegations do more than “tend to exclude the possibility
  15    that AB’s alternative explanation [AB’s conjecture about a license from Warsteiner
  16    to AB] is true” (Motion at 8 & n. 5), which is more than sufficient. Fraud would
  17    be impossible to allege if a defendant could simply retort – without disclosing any
  18    evidence or reasonable theory – that the allegedly fraudulent statements were true.
  19          AB’s subterfuge culminated in its filing of the assignment documents in
  20    February 2013. In those documents, AB made yet another false statement to the
  21    PTO, misrepresenting the date of the assignment to convey that the transaction
  22    occurred after the application had matured to registration when the opposite was
  23    true. Id. at ¶¶ 27-29, 91.
  24          In short, AB’s evasion of Section 10(a) required several specific false state-
  25    ments, all readily discernible from the FAC, as well as AB’s embedded omission
  26    that Warsteriner had already assigned AB the application. AB’s specter of a
  27    “license” raises immediate inferences that it was a sham and – even if properly
  28    considered – would not be sufficient to defeat Patagonia’s pleadings of an unlawful

        OPPOSITION TO MOTION TO DISMISS
        Case No. 2:19-cv-02702-VAP-JEM                                                -9-
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 16 of 31 Page ID #:320


   1    transfer. AB cannot benefit from its elaborate scheme to make the application
   2    appear proper on the surface, when it was unregistrable once AB had acquired it.
   3    See Strome, 2014 WL 6485533, at *5 (denying motion to dismiss fraud claim based
   4    on statements to PTO that applicant owned the mark, when purported acquisition
   5    came through “a backdated ‘confirmation’ of sale” from owner).
   6           The False Representations Concerned Material Facts: Materiality
   7    turns on whether, but for the misrepresentation, the registration “either would not
   8    or should not have issued.” 6 McCarthy on Trademarks and Unfair Competition
   9    § 31:67 (5th ed.). Here, had the PTO known that the ITU was assigned to AB prior
  10    to the filing of the Statement of Use, the PTO would have deemed the application
  11    non-compliant with Section 10(a) and would not have issued the registration. FAC
  12    ¶ 29. AB crafted a series of filings to hide the timing of the assignment and the
  13    identity of the owner of the application and mark, material facts on which the PTO
  14    relies. Id. at ¶¶ 25-29. AB does not contend that the alleged misrepresentations are
  15    material and thus concedes that this element of fraud is alleged.
  16           AB Knew of the Falsity When It Implemented the Scheme: AB “know-
  17    ingly” made its false misrepresentations. AB’s experienced attorneys were aware
  18    of the anti-trafficking rule embodied in Section 10(a). FAC ¶¶ 11, 29. Despite this
  19    knowledge, AB acquired the ITU in violation of Section 10(a) and then colluded
  20    with its competitor to conceal the timing of the transaction by misrepresenting to the
  21    PTO that Warsteiner had a continued interest in the application and that Warsteiner
  22    had made use of the mark. Id. AB, however, knew that these statements were
  23    untrue as it had entered into an agreement transferring the application prior to the
  24    filing of the Statement of Use. Id. ¶¶ 27-28, 91; SmileDirectClub, LLC v. Berkely,
  25    No. SACV 18-1236 JVS (KESx), 2018 WL 8131096, at *7 (C.D. Cal. Oct. 26,
  26    2018) (plausible inference of fraudulent state of mind arises where the applicant
  27    knew an ITU application requires bona fide plans to use but filed the application
  28    without such plans).

        OPPOSITION TO MOTION TO DISMISS
        Case No. 2:19-cv-02702-VAP-JEM                                                - 10 -
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 17 of 31 Page ID #:321


   1           The Deception Was Intentional: AB asserts that Patagonia’s fraud claim
   2    is based on a negligence standard (mischaracterizing the discussions held by the
   3    parties’ counsel prior to AB’s filing of this motion). Motion at 10-11; Gilchrist
   4    Declaration ¶ 6. The FAC, however, alleges that AB’s false representations were
   5    made with the intent to deceive the PTO into issuing the registration. FAC ¶¶ 29, 90.
   6    Nowhere in the pleading (or in the meet and confer response) does the phrase
   7    “should have known” appear. See generally FAC.
   8          The entire purpose of the fraudulent scheme was to conceal the fact that
   9    AB had acquired the ITU in violation of Section 10(a). FAC ¶ 29. Claiming
  10    Warsteiner’s continued ownership, while withholding the fact that AB had acquired
  11    the ITU, raises an inference of intent to deceive. See Daimlerchrysler Corp. v. Am.
  12    Motors Corp., No. 92045099, 2010 WL 302022, at *3 (T.T.A.B. Mar. 25, 2010)
  13    (“[W]here a pleading asserts that a known misrepresentation, on a material matter, is
  14    made to procure a registration, the element of intent, indispensable to a fraud claim,
  15    has been sufficiently pled.”).
  16          Relying on In re Bose, 580 F.3d 1240 (Fed. Cir. 2009) (not a pleading case),
  17    AB conjures that the FAC does not allege “specifically who made” the false state-
  18    ments with an intent to deceive the PTO. Motion at 10. Initially, Patagonia identi-
  19    fied AB’s publicly filed statements (the subject of AB’s RJN) and these filings
  20    identify the AB lawyers who made the statements. RJN Ex. A at 12-17. Even so,
  21    courts after In re Bose have expressly rejected AB’s arguments, holding that a
  22    plaintiff need not identify a specific individual that had fraudulent intent to assert
  23    fraud on the PTO. See Adidas Am., Inc. v. TRB Acquisitions LLC, No. 3:15-cv-
  24    2113-SI, 2018 WL 4600291, at *1 (D. Or. Sept. 25, 2018). This Court also has
  25    held that it is the applicant/registrant’s intent that is relevant to a fraud-on-the-PTO
  26    claim, not the “individual signer’s personal intent.” Neurovision Med. Prods., Inc.
  27    v. Nuvasive, Inc., No. 09-CV-6988 R (JEMx), 2011 WL 13130775, at *1 (C.D. Cal.
  28    May 5, 2011). The Board itself has stated that In Re Bose does not require that “a

        OPPOSITION TO MOTION TO DISMISS
        Case No. 2:19-cv-02702-VAP-JEM                                                  - 11 -
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 18 of 31 Page ID #:322


   1    party identify a ‘specific individual’ who ‘knew of the withheld material informa-
   2    tion or of the falsity of the material misrepresentations, and withheld or misrepre-
   3    sented this information with a specific intent to deceive the PTO.’” Meckatzer
   4    Lowenbrau Benedikt Weib KG v. White Gold, LLC, No. 92051014, 2010 WL
   5    1946273, at *3 (T.T.A.B. May 13, 2013). By alleging why and how AB knowingly
   6    made false statements with the intent to deceive the PTO (FAC ¶¶ 29, 90, 92),
   7    Patagonia sufficiently has alleged the intent element of its fraud claim.
   8           The False Representations Induced the PTO’s Reliance: The PTO
   9    relied on AB’s representations that Warsteiner maintained an interest in the appli-
  10    cation, that Warsteiner had commenced use of the mark, and that no assignment had
  11    occurred prior to the filing of the Statement of Use. FAC ¶¶ 26, 92. AB makes no
  12    argument to the contrary.
  13          AB’s reliance argument is confined to the assignment documents. AB
  14    contends that the PTO could not have relied on the assignment documents because
  15    the assignment was filed after the registration was issued. Again, AB deliberately
  16    ignores the premise of the FAC. AB’s recordation of the assignment after the
  17    registration had been issued was part of the scheme. The PTO relied on the absence
  18    of a recorded assignment in determining that the mark was registrable. If AB had
  19    been truthful about the date of the assignment – either by filing it when it acquired
  20    the ITU, or accurately dating the form as filed – the public record would have
  21    revealed that AB unlawfully obtained the application before the mark registered.
  22    The PTO’s reliance, in any event, on statements made during prosecution do not
  23    end once the registration is issued. The PTO might, for example, cite a registration
  24    as blocking a later application on the assumption that the registration is valid as was
  25    represented. See, e.g., RJN Ex. B at 28.
  26    V.    CLAIM THREE FOR DILUTION IS SUFFICIENT.
  27          AB’s dilution arguments again attempt to decide Patagonia’s claim on the
  28

        OPPOSITION TO MOTION TO DISMISS
        Case No. 2:19-cv-02702-VAP-JEM                                                - 12 -
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 19 of 31 Page ID #:323


   1    merits at the motion to dismiss stage, distorting the applicable pleading require-
   2    ments. AB claims: (1) Patagonia has insufficiently pleaded that its PATAGONIA
   3    trademark is famous, (2) Patagonia’s PATAGONIA word mark is somehow
   4    disqualified from fame status, because it lacks an undefined “requisite level of
   5    distinctiveness,” and (3) Patagonia’s dilution claim is too vague to answer. Motion
   6    at 18-24. Each argument fails.5
   7          A.     The FAC Contains Sufficient Factual Allegations to Show the
                     “Fame” Element of a Dilution Claim.
   8
   9          Four non-exclusive factors determine fame for purposes of a dilution claim:
  10    (i) duration, extent, and geographic reach of advertising and publicity; (ii) volume
  11    and extent of sales; (iii) actual recognition of the mark; and (iv) whether the mark
  12    is registered. 15 U.S.C. § 1125(c)(2)(A)(i)-(iv). To plead fame, Patagonia merely
  13    must allege facts to support a plausible theory of its notoriety. See In re Gilead Scis.
  14    Secs. Litig., 536 F. 3d 1049, 1057 (9th Cir. 2008); Blue Sphere, Inc. v. Swift, No.
  15    SACV 14-00782-CJC(DFMx), 2014 WL 12575768, at *2 (C.D. Cal. Sept. 17, 2014)
  16    (denying motion to dismiss based on allegations that “Lucky 13 has marketed and
  17    sold its goods internationally, generating millions of dollars per year in sales and
  18    building significant consumer goodwill”); Cree, Inc. v. Fastbuy, Inc., No. CV 18-
  19    01802-CJC(ASx), 2018 WL 4850404, at * 5 (C.D. Cal. July 16, 2018) (denying
  20    motion based on allegations that plaintiff is “a market leader in the world of LED
  21    products” and that defendant’s intentional copying confirms the CREE and XM-L
  22    marks are “famous and distinctive”).
  23          The facts relating to each of these factors, including the following examples,
  24
  25    5
         Patagonia also asserts infringement, dilution and unfair competition under
        California Law (Claim 4). The substance of Patagonia’s state law claims puts AB
  26    on notice (AB does not say otherwise), and to the extent Patagonia cited obsolete
        statutory numbers, it offered to clarify in discovery or file a simple post-Motion
  27    amendment. As AB did not respond and persisted in its Motion on these claims,
        Patagonia will oppose. There is no basis to dismiss the claims and any questions
  28    about what statutes are relied upon can easily be cured in discovery.

        OPPOSITION TO MOTION TO DISMISS
        Case No. 2:19-cv-02702-VAP-JEM                                                - 13 -
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 20 of 31 Page ID #:324


   1    are sufficient to show fame:
   2           Advertising and Publicity: (1) Patagonia’s brand has appeared on
   3    millions of PATAGONIA branded products, sold over the course of decades (FAC
   4    at ¶ 3); (2) for many years, Patagonia has spent enormous amounts of time, money
   5    and effort advertising and promoting its brand (id. at ¶ 40); (3) “PATAGONIA
   6    brand products are advertised in print and on the Internet” and “advertised and
   7    promoted and presented at point of sale by numerous retailers” (id.).
   8           Sales: (1) “[S]ince 1985, Patagonia has pledged 1% of sales to
   9    environmental groups … donating more than $100 million to date” (translating to at
  10    least several billion dollars in sales, just since 1985) (id. ¶ at 9); (2) Patagonia made
  11    $10,000,000 in sales in a single day (the proceeds going to charity) (id.); (3)
  12    “Plaintiffs have sold their PATAGONIA brand products all over the world,
  13    including throughout the United States and California” (id. at ¶ 41).
  14           Recognition: (1) The PATAGONIA mark “enjoys strong consumer
  15    recognition, is used as a household term to refer to Patagonia or its products, and
  16    is recognized around the world and throughout the United States by consumers”
  17    (id. at ¶ 43); (2) “In the more than forty years since Patagonia, Inc.’s business
  18    started, the PATAGONIA brand and its P-6 logo have become among the most
  19    identifiable brands in the world” (id. at ¶ 8); (3) Patagonia, Inc.’s founder launched
  20    1% For the Planet in 2002 – a non-profit with 1,200 members that have donated
  21    more than $150 million (id. at ¶ 9); (4) Patagonia, Inc. became one of California’s
  22    first Benefit Corporations in 2012 (id.).
  23           Registration: “Patagonia owns numerous registrations for and including
  24    the PATAGONIA trademark and P-6 logo,” (table of Plaintiffs’ registrations
  25    follows). Id. at ¶ 36.
  26          AB’s deliberate copying of the PATAGONIA brand also support Patagonia’s
  27    pleading that its mark is recognized, famous, and valuable. Cree, Inc., 2018 WL
  28    4850404, at * 5. For example, “AB has dressed its sales people in down jackets and

        OPPOSITION TO MOTION TO DISMISS
        Case No. 2:19-cv-02702-VAP-JEM                                                  - 14 -
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 21 of 31 Page ID #:325


   1    given out beanies, t-shirts, and scarves bearing AB’s PATAGONIA logo—all
   2    products that Patagonia sells,” and “AB has launched its copycat brand at ski resorts
   3    where Patagonia, Inc.’s ski apparel is widely used and universally recognized in
   4    further attempts to draft off Patagonia’s goodwill.” FAC at ¶ 3. AB’s efforts to
   5    connect its beer to environmental conservation have the same effect. Id.
   6          B.     AB’s Authorities Regarding Dilution Are Overblown,
                     Distinguishable, or Irrelevant to the Pleading Stage.
   7
   8          None of AB’s cases supports the conclusion (1) that broad categories of marks
   9    are foreclosed from being famous, or (2) that the Lanham Act requires pleading of
  10    “quantifiable metrics” for the fame factors. Motion at 15.
  11          AB begins by mischaracterizing Fruit of the Loom, Inc. v. Girouard, 994 F.2d
  12    1359, 1362-63 (9th Cir. 1993). The case has nothing to do with pleading require-
  13    ments – it is an appeal from a judgment following a bench trial – but is nevertheless
  14    incorrectly cited by AB as support for the statement that “Courts grant motions to
  15    dismiss dilution claims where the complaint lacks sufficient facts to support a claim
  16    of fame.” Motion at 19. AB also misuses Fruit of the Loom to say that Patagonia’s
  17    mark lacks sufficient strength to qualify for dilution protection. AB selectively
  18    ignores that the Ninth Circuit recognized that FRUIT OF THE LOOM indisputably
  19    is “a famous American trademark.” The court simply affirmed the district court’s
  20    verdict that “Fruit” alone was not famous, agreeing that “Fruit” alone was at best
  21    an “embryonic” mark and not comparable to FRUIT OF THE LOOM. Id. This
  22    decision does not inform how this Court should treat Patagonia’s decades-old
  23    famous brand (FAC ¶ 7) – on a pleading motion.
  24          AB’s reliance on MGA Entm’t, Inc. v. Dynacraft BSC, Inc., No. 2:17-cv-
  25    08222-ODW-KS, 2018 WL 2448123, at *6 (C.D. Cal. May 30, 2018) fails for a
  26    similar reason. MGA involved product configuration trade dress (not asserted by
  27    Patagonia in the FAC), a species of trademark that has special burdens even to attain
  28    secondary associations as an indicator of origin. See Wal-Mart Stores, Inc. v.

        OPPOSITION TO MOTION TO DISMISS
        Case No. 2:19-cv-02702-VAP-JEM                                               - 15 -
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 22 of 31 Page ID #:326


   1    Samara Bros., Inc., 529 U.S. 205, 213 (2000). Product configuration trade dress for
   2    a children’s “car” can only be communicated visually and appeals to a niche
   3    consumer segment. It cannot compare to Patagonia’s brand and identity which is far
   4    more susceptible to becoming a “household” name. In any event, it is not worth hair
   5    splitting over MGA’s analysis: MGA was granted leave to amend to add that the
   6    trade dress was known among the “general public.” MGA, 2018 WL 2448123, at
   7    *6. Patagonia already has pleaded (with support) that its brand is a national
   8    household name. FAC ¶ 43.
   9          The remaining cases that AB cites are either facially absurd (Aegis, Theta
  10    Chi) or unquestionably conclusory (Planet Coffee Roasters, T-4 Corp., ANT,
  11    Dahon). In Aegis Software, Inc. v. 22nd Dist. Agric. Ass’n, 255 F. Supp. 3d 1005,
  12    1010-11 (S.D. Cal. 2017), the court dismissed a dilution claim after the plaintiff
  13    alleged that “San Diego Spirits Festival” was famous because 3,800 attended the
  14    event at its height of popularity in 2014 (95% were from San Diego). This com-
  15    pares unfavorably to sales of millions of units; charitable donations as a function of
  16    billions of dollars in sales; a single day exceeding $10 million in sales; and a mark
  17    that is a household name nationwide. AB relies on Theta Chi Fraternity, Inc. v.
  18    Leland Stanford Junior Univ., 212 F. Supp. 3d 816, 824 (N.D. Cal. 2016) as support
  19    for the idea that allegations of philanthropy cannot support fame. In Theta Chi, the
  20    dismissal was based in part on the fraternity’s allegations that it had only 175,000
  21    members over 160 years, and that its chapter left Stanford (the defendant) in 1988
  22    due to a lack of membership. Id. at 828. The decision hardly addresses Patagonia’s
  23    allegations regarding its philanthropy – e.g. “donating more than $100 million to
  24    date” (FAC ¶ 9) – much less Patagonia’s other specific allegations supporting fame.
  25          The Planet Coffee Roasters, T-4 Corp., ANT, and Dahon courts dismissed
  26    similar claims because the plaintiffs said nothing beyond that their respective marks
  27    – Planet Coffee, ♥'n, ANT, DAHON, and the “obscure” BIOLOGIC and
  28    ECOLOGIC marks – are famous. Planet Coffee Roasters, Inc. v. Dam, No. SACV

        OPPOSITION TO MOTION TO DISMISS
        Case No. 2:19-cv-02702-VAP-JEM                                                - 16 -
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 23 of 31 Page ID #:327


   1    09-00571-MLG, 2009 WL 2486457, at *3 (C.D. Cal. Aug. 12, 2009); T-4 Corp. v.
   2    McDonald’s Corp., No. CV 17-08-M-DLC, 2017 WL 3037422, at *5-6 (D. Mont.
   3    July 17, 2017); ANT v. McPartlin, No. CV 11-6975 PSG (Ex), 2012 WL 13012472,
   4    at *7 (C.D. Cal. May 30, 2012); Dahon N. Am., Inc. v. Hon, No. 2-11-cv-05835-
   5    ODW (JCGx), 2012 WL 1413681, at *9 (C.D. Cal. Apr. 24, 2012).6 None of these
   6    decisions is relevant to Patagonia’s detailed pleading.
   7          C.     The PATAGONIA Mark Is Sufficiently Distinctive to Support a
                     Claim of Fame.
   8
   9          AB also argues that Patagonia’s mark lacks inherent strength, and is therefore
  10    precluded from being famous. See Motion at 23. There is no legal support for this
  11    argument. AB presumes that a trademark must be inherently strong to be famous,
  12    then announces that other “independent significance” of the Patagonia term pre-
  13    cludes Patagonia from establishing fame. If AB’s argument is that only fanciful
  14    trademarks can be famous – i.e., a term with other meanings cannot be a famous
  15    mark – it is mistaken. Nat’l Pork Bd. & Nat’l Pork Producers Council v. Supreme
  16    Lobster & Seafood Co., No. 91166701, 2010 WL 2513872 (T.T.A.B. June 11,
  17    2010) (THE OTHER WHITE MEAT is famous); Mattel Inc. v. Scott, No.
  18    91123052, 2006 WL 3472709 (T.T.A.B. Nov. 21, 2006) (HOT WHEELS is
  19    famous); Delta Air Lines, Inc. v. Influence Direct, LLC, No. 3-14-0926, 2016 WL
  20    310068, at *5 (M.D. Tenn. Jan. 15, 2016) (DELTA is famous); Dallas Cowboys
  21    Football Club, Ltd. v. Am.'s Team Props., Inc., 616 F. Supp. 2d 622, 643 (N.D. Tex.
  22    2009) (AMERICA’S TEAM is famous). AB’s cases calling “Budweiser” a famous
  23    mark serve themselves to foreclose any argument that a mark having geographical
  24
        6
         There is no authority that, at the pleading stage or any other stage, a court may rely
  25    solely on anecdotal notoriety or its own brand affinities to resolve the issue of fame
        See, e.g., In-N-Out Burgers v. Smashburger IP Holder LLC, No. 8:17-cv-1474-JLS-
  26    DFM, 2017 WL 10402610, at *3 (C.D. Cal., Dec. 21, 2017) (denying motion to
        dismiss dilution claim because In-N-Out “need not prove that the Double Double
  27    mark is on par with a brand like Budweiser; it must ‘plead the elements of a dilution
        claim sufficient to set forth a claim for relief.’” (emphasis in original; internal
  28    citation omitted)).

        OPPOSITION TO MOTION TO DISMISS
        Case No. 2:19-cv-02702-VAP-JEM                                                - 17 -
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 24 of 31 Page ID #:328


   1    connotations cannot be famous. Its own Budweiser mark – derived from the Czech
   2    city of Budějovice (or “Budweis” in German), where beer has been brewed since the
   3    13th century – has identical geographic origins as Patagonia.
   4          AB gains no ground by pointing to “eleven current registrations including
   5    the word Patagonia.” See Motion at 24 (emphasis added). The mere existence of
   6    registrations, if judicial notice of them were proper, says nothing about the commer-
   7    cial impact of those purported marks.7 And, if AB’s theory were correct, APPLE
   8    and AMAZON (both with alternate significance) would be disqualified as well –
   9    a doubtful and non-credible prospect.
  10          AB relies on Avery Dennison Corp. v. Sumpton, 189 F. 3d 868 (9th Cir.
  11    1999). But, once again, Avery is not a pleading case. The district court had granted
  12    summary judgment in favor of Avery Dennison on its dilution claim, before the
  13    Ninth Circuit reversed and entered summary judgment against it. Significantly, the
  14    decision actually recognizes that marks which are not inherently distinctive – if they
  15    “acquire” distinctiveness – can be famous. 189 F.3d at 877 (“No dispute exists that
  16    ‘Avery’ and ‘Dennison’ are common surnames …. Avery Dennison cannot claim
  17    that ‘Avery’ and ‘Dennison’ are inherently distinctive, but must demonstrate
  18    acquired distinctiveness through secondary meaning.”). The defect in Avery
  19    Dennison’s dilution claim was that its showing went “no further” than demon-
  20    strating acquired distinctiveness. Id. at 879. No doubt Avery’s reliance on surveys
  21    of its own customers – all already familiar with its brand of office supply products
  22    (hardly as likely to become “famous” as a consumer brand) – contributed greatly to
  23    the entry of summary judgment against its claims. Id. at 879 (“The one consumer
  24    group that did not necessarily include office supply purchasers for businesses was
  25    still required to be ‘somewhat’ or ‘very’ familiar with Avery products in order to be
  26
  27    7
         Patagonia objects to taking judicial notice of third party registrations which,
        standing alone, are irrelevant. E.g. Boldface Licensing + Branding v. By Lee Tillett,
  28    Inc., 940 F. Supp. 2d 1178, 1191 (C.D. Cal. 2013).

        OPPOSITION TO MOTION TO DISMISS
        Case No. 2:19-cv-02702-VAP-JEM                                               - 18 -
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 25 of 31 Page ID #:329


   1    counted.”). AB’s argument that the Court can summarily reject Patagonia’s dilution
   2    claim without determining the “precise level of strength” enjoyed by the brand
   3    (Motion at 24) is unsupported and contradicted to the extent Avery says anything
   4    at all about pleadings. Patagonia must be afforded the opportunity to submit its
   5    own surveys and demonstrate its own renown before its claim may be judged.
   6          D.     AB’s Motion for a More Definite Statement of Claim Three
                     Is Baseless and Should Be Denied.
   7
   8          AB claims it is unclear from the FAC which trademark Patagonia alleges
   9    is famous, who owns the famous trademark, or when the trademark became famous.
  10    Id. at 24. A Rule 12(e) motion permits the Court to grant relief when the pleading is
  11    “so vague or ambiguous that the party cannot reasonably prepare a response.” Fed.
  12    R. Civ. P. 12(e). AB cites no authority in support of its request, and none exists
  13    because the FAC provides ample clarity for AB to respond.
  14          The FAC states that it is the “PATAGONIA word mark” that is famous.
  15    FAC ¶ 67. It alleges that “AB’s conduct is likely to cause dilution of Patagonia’s
  16    PATAGONIA word mark.” Id. at ¶ 68. The FAC lists registrations for the Patagonia
  17    word mark, which are obvious in that they show the word “PATAGONIA” in the
  18    supplied chart, rather than, e.g., “PATAGONIA PROVISIONS,” or Patagonia’s P-6
  19    logo. Id. at ¶ 36. The same chart shows which registrations are owned by Provisions
  20    as opposed to Patagonia, Inc. Patagonia further alleges that its PATAGONIA word
  21    mark became famous “long before AB began selling PATAGONIA beer in the
  22    United States.” Id. at ¶ 43. There is no requirement that Patagonia plead a specific
  23    date and time when the mark became famous, and AB provides no authority for one.
  24    No further definition is necessary.
  25    VI.   CLAIM SIX ADEQUATELY PLEADS FALSE SUGGESTION
              OF CONNECTION.
  26
  27          The facts showing fame also assist in showing that Patagonia adequately has
  28    pleaded its claim that AB’s registrations falsely suggest a connection with Patagonia

        OPPOSITION TO MOTION TO DISMISS
        Case No. 2:19-cv-02702-VAP-JEM                                               - 19 -
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 26 of 31 Page ID #:330


   1    under 15 U.S.C. § 1052(a) (“Section 2(a)”). A false suggestion claim requires that:
   2    (1) Defendant’s PATAGONIA mark was the same or a close approximation of
   3    Patagonia’s identity; (2) Defendant’s PATAGONIA mark when used on beer would
   4    point uniquely and unmistakably to Patagonia; (3) Patagonia was not connected with
   5    Defendant’s PATAGONIA mark; and (4) Patagonia’s reputation was sufficiently
   6    strong that its connection with Defendant’s PATAGONIA mark would be pre-
   7    sumed. See Buffett v. Chi-Chi's, Inc., 1985 WL 73060, at *3 (T.T.A.B. June 13,
   8    1985). Like fame for purposes of dilution, these are empirical propositions,
   9    plausibly raised by the allegations, and are not appropriately answered by pleading
  10    motions.
  11          AB does not cite any pleading cases that address Patagonia’s Section 2(a)
  12    claim, let alone that support dismissal of Patagonia’s claim without leave to amend.8
  13    AB argues that Patagonia “generally allege[s] ‘extensive sales, publicity, awards
  14    and leadership,’ none of which is tethered to AB’s date of filing or registration”
  15    (momentarily losing sight of its own argument that the registration date is what
  16    matters). Motion at 13. The characterization is disingenuous, ignoring allegations
  17    that encompass Patagonia’s pre-2012 actions, including about Patagonia’s decades
  18
        8
  19      The statutory text resolves any doubt caused by AB’s inexplicable comments that
        it could not find a case in which an incontestable registration was cancelled based
  20    on 1052(a). Among the other grounds for cancelling an incontestable registration,
        15 U.S.C. § 1064(3) permits cancellation “[a]t any time if the … registration was
  21    obtained fraudulently or contrary to the provisions of section 1054 of this title or of
        subsections (a), (b), or (c) of section 1052.” (emphasis added). It is hard to accept
  22    AB’s confusion about this point after Patagonia – at AB’s request during the meet
        and confer – forwarded a case in which the TTAB cancelled an incontestable
  23    registration for “BAMA” on the strength of the association between BAMA and the
        University of Alabama. Bd. Of Tr. of the Univ. of Alabama v. BAMA-Werke Curt
  24    Baumann, No. 13,291, 1986 WL 83709 (T.T.A.B. Aug. 6, 1986). There is no
        question that 1052(a) is available to Patagonia to secure cancellation of AB’s
  25    campaign to associate itself with Patagonia – regardless of whether the registration
        is incontestable. See also Red Diamond Co. dba Nat’l Sportswear v. Nat’l
  26    Sportswear, Inc., No. 92064690, 2017 WL 1476300, at *3 (T.T.A.B. Mar. 23, 2017)
        (citing Trademark Act Section 15) (“[T]he fact that a registration has become
  27    incontestable does not preclude cancellation of that registration under claims that
        may be brought at any time under Trademark Act Section 14(3), 15 U.S.C. §
  28    1064(3).”).

        OPPOSITION TO MOTION TO DISMISS
        Case No. 2:19-cv-02702-VAP-JEM                                               - 20 -
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 27 of 31 Page ID #:331


   1    of enormous charitable donations (FAC at ¶ 9); the 2002 launch of 1% for the
   2    Planet, now representing 1,200 members (id.); decades of sales of millions of
   3    PATAGONIA branded products (id. at ¶ 3); decades spent advertising and promot-
   4    ing its brand (id. at ¶ 40); and Provisions’ launch in 2012 to expand the offerings
   5    under the PATAGONIA brand, aimed at addressing failures in the food supply
   6    chain (id. at ¶ 4).9 These allegations go well beyond what is required. Petróleos
   7    Mexicanos v. Intermix S.A., No. 92052292, 2010 WL 5574284, *3 (T.T.A.B. Dec.
   8    28, 2010) (Plaintiff met its burden by alleging that PEMEX is famous and had been
   9    used “for decades,” the registrant’s PEMEX mark is identical to plaintiff’s identity,
  10    and the registrant’s mark “falsely suggests a connection.”).
  11          Overlooking these simple requirements, AB calls Patagonia’s pleading of
  12    association “conclusory,” ignoring allegations that (1) association actually has
  13    occurred (e.g., “Consumers have … attributed AB’s PATAGONIA beer to
  14    Plaintiffs” (FAC at ¶ 54)); and (2) AB has intended all along to provoke such
  15    associations (e.g., “AB has done everything possible to make it appear as though
  16    this PATAGONIA beer is sold by Patagonia” (id. at ¶ 3) and “There is no question
  17    that AB at all times was well aware of Patagonia’s prior rights, or that it is now
  18    using [an] array of promotional tools to try to capture Patagonia’s … corporate
  19    identity for itself” (id. at ¶ 52)). If it were implausible for the public to recognize
  20    a “Patagonia” entity, AB would not have started using the term as a noun and “dba,”
  21    referring to itself as “Patagonia” or “Patagonia Cerveceria.” Id. at ¶¶ 12 and 49.
  22          AB argues that Provisions (in attempting to overcome AB’s purported beer
  23    registration when applying for PATAGONIA PROVISIONS for wine) told the PTO
  24    9
          The fame and reputational elements of 1052(a) are not equivalent to the nation-
  25    wide fame required for a dilution claim. When AB conflates the “allegations of
        fame as of 2012” with allegations of fame for purposes of dilution (see Motion at
  26    14,), AB misunderstands the requirements for a 1052(a) claim. See, e.g., Ass'n Pour
        La Def. et La Promotion De Loeuvre De Marc Chagall Dite Comite Marc Chagall
  27    v. Bondarchuk, No. 92042323, 2007 WL 749714 (T.T.A.B. Mar. 8, 2007) (rejecting
        the registrant’s argument that the “strict fame requirement” applied in dilution cases
  28    under 1125(c) also governs 1052(a) claims).

        OPPOSITION TO MOTION TO DISMISS
        Case No. 2:19-cv-02702-VAP-JEM                                                   - 21 -
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 28 of 31 Page ID #:332


   1    that PATAGONIA was no more “inherently” distinctive than PROVISIONS when
   2    used in the mark. AB omits that Patagonia’s next sentence explains that: “To the
   3    extent that PATAGONIA contributes more to the strength of the overall mark, it is
   4    because the mark is already strongly associated with Patagonia, not because the term
   5    PROVISIONS in Patagonia's new brand is not a distinctive element.” RJN at Ex. B,
   6    57-58. Patagonia also states that PATAGONIA “has become a famous lifestyle
   7    brand.” Id. at 39. That PATAGONIA PROVISIONS (when used on wine) can be
   8    differentiated from AB’s beer mark serves only as a reminder that AB has no such
   9    defense under Section 2(a) to copying (identically) Patagonia’s identity.
  10          AB next claims that the existence of the Patagonia region somehow precludes
  11    Patagonia’s Section 2(a) claim. AB’s own cases show there is no requirement that
  12    Patagonia must make exclusive use of the term “Patagonia” to succeed on its claim
  13    (let alone to plead it). In Lesley Hornby a/k/a Lesley Lawson a/k/a Twiggy v. Tjx
  14    Cos., Inc., No. 92044369, 2008 WL 1808555, at *16 (T.T.A.B. Mar. 4, 2008), the
  15    TTAB rejected a similar argument that Section 2(a) was unavailable to the model
  16    and actress Twiggy because others used the term. The Board explained, “[t]he
  17    requirement that a [registrant’s] mark point ‘uniquely’ to [plaintiff] does not mean
  18    that TWIGGY must be a unique term. Rather, in the context of the [registrant’s]
  19    goods, we must determine whether consumers would view the mark as pointing only
  20    to [plaintiff].” Similarly, in New York Yankees P’ship v. Evil Enters., Inc., No.
  21    91192764, 2013 WL 1305332, at *2 (T.T.A.B. Feb. 8, 2013), the Board recognized
  22    that “Evil Empire” originated with the Star Wars franchise but still granted the
  23    Yankees relief under Section 2(a). Patagonia’s allegations do not lose plausibility
  24    because, in other contexts, “Patagonia” might refer to a region. Patagonia has met
  25    its burden by alleging that AB’s beer registration would point consumers to
  26    Patagonia.
  27          Third-party registrations do not help AB either. “[T]hird-party registrations
  28    and applications are not evidence that the marks which are the subjects thereof are

        OPPOSITION TO MOTION TO DISMISS
        Case No. 2:19-cv-02702-VAP-JEM                                                - 22 -
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 29 of 31 Page ID #:333


   1    in use and that the public is familiar with the use of those marks,” and therefore their
   2    existence has no bearing on the type of awareness-focused question that is central to
   3    a Section 2(a) claim and analysis. Lesley Hornby, 2008 WL 1808555, at *16
   4    (quoting In Re White, No. 78146926, 2006 WL2049628 (T.T.A.B. Jan. 4, 2006));
   5    accord Boldface Licensing + Branding, 940 F. Supp. 2d at 1191. AB will have an
   6    opportunity to show that PATAGONIA tires and berries are important consumer
   7    brands, but for now those registrations have no bearing on Patagonia’s claim under
   8    Section 2(a).
   9          AB also overlooks AB’s intent. As the Federal Circuit pointed out in Univ. of
  10    Notre Dame du Lac v. J.C. Food Imps. Co., 703 F.2d 1372 (Fed. Cir. 1983),
  11    evidence that the applicant intended to cause an association with the university
  12    would overcome others’ use of the term. “The defense that the result intended was
  13    not achieved would be hollow indeed.” Univ. of Notre Dame, 703 F.2d at 1377.
  14    AB intended to associate its beer with the Patagonia brand (and has succeeded).
  15    See, e.g., FAC ¶¶ 3, 52.
  16          Finally, Patagonia’s allegations of a false association meet the timing
  17    requirements of a Section 2(a) claim, namely that AB’s purported PATAGONIA
  18    mark on beer triggered a false association as of the registration date: “As a result
  19    of the fame and reputation of Patagonia, Inc.’s identity and name – including at the
  20    time that Registration No. 4,226,102 issued – consumers are and were likely imme-
  21    diately to associate AB’s use of Patagonia on beer with Patagonia, Inc.” FAC, ¶ 87.
  22    Also, “the term PATAGONIA uniquely and unmistakably identifies Patagonia
  23    Inc. … since well before the PTO issued U.S. Trademark Registration
  24    No. 4,226,102.” FAC, ¶ 42. These allegations – particularly when considered
  25    together with Patagonia’s factual support of its reputation – satisfy the pleading
  26    requirement. AB offers no support for the proposition (Motion at 14) that calling
  27    attention to AB’s ongoing and deliberate maintenance of a false association – which
  28    AB characterizes as “comingled dates” – renders the pleading inadequate.

        OPPOSITION TO MOTION TO DISMISS
        Case No. 2:19-cv-02702-VAP-JEM                                                - 23 -
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 30 of 31 Page ID #:334


   1    VII. THE FIFTH CLAIM PROPERLY PLEADS ABANDONMENT.
   2          A mark is abandoned “[w]hen its use has been discontinued with intent not to
   3    resume such use.” 15 U.S.C. § 1127. Three years of nonuse shall be prima facie
   4    evidence of abandonment. Id. To plead the claim, Patagonia must allege (1)
   5    discontinuance of use and (2) intent not to resume such use, with both requirements
   6    subject to the inferences and definitions set out in the statute. Mophie, Inc. v. ABM
   7    Wireless, Inc., No. SACV 14-1422-JLS (RNBx), 2015 WL 12791374, at *3 (C.D.
   8    Cal. May 19, 2015) (citing Electro Source, LLC v. Brandess-Kalt-Aetna Grp., Inc.,
   9    458 F.3d 931, 935 (9th Cir. 2006)).
  10          “AB made no bona fide commercial use of the mark in the United States until
  11    its recent campaign.”10 FAC at ¶ 30. AB’s press releases and public filings from
  12    2012 through 2018, when mentioning the brand at all, confine PATAGONIA beer
  13    to the “Latin America South” category until finally stating, in February 2019, that
  14    AB was “identifying opportunities to introduce existing brands [such as Argentina’s
  15    Patagonia] into new markets.” Id. at ¶ 32, 35. Nothing indicates that AB had any
  16    plans to develop a Patagonia brand in the United States. See La Societe Anonyme
  17    des Parfums le Galion v. Jean Patou, Inc., 495 F.2d 1265, 1272-73 (2d Cir. 1974)
  18    (minimal sales were designed to maintain the trademark right and were inconsistent
  19    with commercial exploitation). Further, a party who has abandoned its trademark
  20    rights cannot revive those rights by resumed use. Cerveceria Centroamericana, S.A.
  21    v. Cerveceria India, Inc., 892 F.2d 1021, 1027 (Fed. Cir. 1989) (incontestable
  22    registration cancelled following meager use over the period of six years, followed
  23    by resumed use one year prior to the cancellation action). Accordingly, AB’s failure
  24    to use the mark during the six years between the date of registration and its recent
  25
  26    10
          Patagonia also alleges Warsteiner and AB failed to use the PATAGONIA mark
  27    during critical periods. The FAC alleges that, if Warsteiner acquired any trademark
        rights pursuant to some kind of license (as AB hints), but the transfer to AB was
  28    illegal, then there is no question that Warsteiner has abandoned the mark and
        registration. FAC, ¶ 82.
        OPPOSITION TO MOTION TO DISMISS
        Case No. 2:19-cv-02702-VAP-JEM                                               - 24 -
Case 2:19-cv-02702-VAP-JEM Document 17 Filed 07/25/19 Page 31 of 31 Page ID #:335


   1    brand launch means that AB’s abandonment is plausible.11
   2          There is also no basis for dismissing Patagonia’s abandonment claim because
   3    Patagonia did not (except by using the term “abandonment”) recite the boilerplate
   4    that AB or Warsteiner lacked an “intent to resume use.” As courts recognize –
   5    including AB’s authority – abandonment is properly pleaded with “facts from
   6    which this intent could reasonably be inferred.” Bell v. Harley-Davidson Motor Co.,
   7    No. 05cv2151-L(BLM), 2007 WL 935588, at *3 (S.D. Cal. Mar. 6, 2007); see also
   8    Mophie, 2015 WL 12791374, at *3 (allegation of non-use “is sufficient to allege
   9    intent not to resume use”). The FAC alleges the requisite long periods of non-use.
  10    See, e.g., FAC at ¶¶ 25, 30, 32
  11    VIII. CONCLUSION
  12          Under the Court’s standing order, the Motion never should have been brought
  13    and now should be denied.
  14
  15    Dated: July 25, 2019              Respectfully submitted,
  16                                      KILPATRICK TOWNSEND & STOCKTON LLP
  17
  18                                      By:           /s/ Gregory S. Gilchrist
                                                            Gregory S. Gilchrist
  19
                                          Attorneys for Plaintiffs
  20                                      PATAGONIA, INC. and
                                          PATAGONIA PROVISIONS, INC.
  21
  22
  23
  24
  25
  26    11
          AB insinuates that Patagonia took too long to challenge AB’s registration to
  27    no apparent point in the Motion. But Patagonia had no incentive to challenge a
        behemoth’s registration when AB was not using the mark and it appeared the mark
  28    would expire on its own as a result of AB’s non-use.

        OPPOSITION TO MOTION TO DISMISS
        Case No. 2:19-cv-02702-VAP-JEM                                             - 25 -
